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          EXHIBIT A
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                                                                                                                                       8v N           L2 O‘I‘A/P‘k
                                                                                                                                                      NICOLE O'DWVER. DEPUTY




                                                                                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                                                                    FOR THE COUNTY OF SAN BERNARDINO

                                                                                                                                                      CIV SB 21                 15588
                                                                JUAN CARLOS           RUIZ,                                          CaseNo.:

                                                                                   Plaintiff;                                          COMPLAINT FOR DAMAGES
                                                                                                                                        1. VIOLATION OF LABOR C.                      §§
                                                                        vs.                                                          1102.5, 63 10 6400             ET SEQ      AND 232.5;
                                                                                                                                     WRONGFUL TERMINATION IN
                                                                ANDERSEN WINDOWS,        INC, a Minnesota                            VIOLATION OF PUBLIC POLICY;
                                                                Corporation formerly known as ANDERSEN                                 2. VIOLATION OF LABOR C. §§
                                                                CORPORATION; ANDERSEN WINDOWS                                        1102.5,         6310   AND 232.5, AND
                                                                AND DOORS,         a Minnesota business organization,                RETALIATION;
                                                                form unknown; ANDERSEN DISTRIBUTION,                                   3. DISCRIMINATION BASED ON
                                                                INC, a Delaware corporation with principal place                     MEDICAL CONDITION OR PHYSICAL
                                                                of business in Minnesota; ANDERSEN                                   DISABILITY;
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                                                                LOGISTICS, a Division of ANDERSEN                                          4.   RACIAL DISCRIMINATION;
                                                                WINDOWS, INC, business form unknown; and                                   5.   WRONGFUL TERMINATION
                                                                DOES    1   through   10, inclusive;                                 (HARASSMENT; HOSTILE WORK
                                        mﬁQMAWNHOOWNGM-PWNHO
                                                                                                                                     ENVIRONMENT);
                                                                                   Defendants.                                         6. LABOR CODE VIOLATIONS
                                                                                                                                     (DENIAL OF PREMIUMS FOR REST
                                                                                                                                     BREAKS AND MEAL BREAKS);
                                                                                                                                       7. LABOR CODE VIOLATIONS
                                                                                                                                     (Failure to Pay Wages 0n Time, to Pay
                                                                                                                                     Wages Timely on Termination, to Provide
                                                                                                                                     Accurate  Wage Statements, to Pay
                                                                                                                                     Overtime Wages, to Provide Timely Wage
                                                                                                                                     Statements and To Maintain Accurate
                                                                                                                                     Payroll Records)

                                                                                                                                     JURY TRIAL DEMANDED

                                                                       Plaintiff   JUAN CARLOS RUIZ                  alleges as follows:


                                                                                                                GENERAL ALLEGATIONS
                                                                       1.   Plaintiff   is,   and   at all   relevant times was, an adult male residing in San Bernardino



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                                                                                                                                      COMPLAINT
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               County, California.

                         2.    Plaintiff was        employed by defendants                   in    San Bemardino County, California, and the

               defendants’ conduct hereinaﬁer alleged occurred in said County and State.

                         3.    Plaintiff is informed               and believes and on             that basis alleges that defendant      ANDERSEN
   \IQUVAUJN




               WINDOWS,           INC.       is   and    at all   relevant times was, a corporation organized and existing under the

               laws 0f the State of Minnesota, formerly                          known    as      ANDERSEN CORPORATION,                   that its principal

               place of business was in Bayport, Minnesota, that                              it   employed more than 50 persons and was an

               employer deﬁned           in the California Fair                 Employment and Housing Act (FEHA).

                         4.   Plaintiff      is   informed and believes and 0n that basis alleges that defendant                          ANDERSEN
  10           WINDOWS AND DOORS                           is,    and      at all relevant   times was, a Minnesota business organization, fonn

  11           unknown, with          principal place of business                  was   in Bayport, Minnesota.

  12                     5. Plaintiff is          infomed and           believes and on that basis alleges that defendant                 ANDERSEN
  13           DISTRIBUTION, INC.                   is   and      at all   relevant times was, a corporation organized and existing under

  14           the laws of the State 0f Delaware corporation with principal place of business in Minnesota, that                                       it


  15           employed more than 50 persons and was an employer deﬁned                                         in the California Fair   Employment and

  16           Housing Act (FEHA).

  17                     6.   Plaintiff is        informed and believes and on that basis alleges that defendant                          ANDERSEN
 18            LOGISTICS         is   and    at all     relevant times          was a Division of ANDERSEN                  WINDOWS,       INC. with

 19            business form unknown.

 20                      7.   The     true   names and            capacities of defendants            named     as   DOES   1   through 10, inclusive, are

 21            presently      unknown        to plaintiff. Plaintiff will            amend         this   complaint, setting forth the true names and

 22            capacities of these ﬁctitious defendants                        when they are         ascertained. Plaintiff is informed and believes

 23            and on that basis alleges              that   each 0f the ﬁctitious defendants has participated in the acts alleged in

 24            this   complaint t0 have been done by the named defendants.

 25                      8.   Plaintiff is informed               and believes and 0n              that basis alleges that, at all relevant times, each

 26            0f defendants, whether named or ﬁctitious, was the agent 0r employee 0f each of the other

 27            defendants, and in doing the things alleged to have been done in the complaint, acted within the

 28            scope of such agency or employment, or ratiﬁed the acts 0f the other.



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                                                                                                          COMPLAINT
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                                                             9.       In   October 2014, defendants hired plaintiff t0 work                in the position   of Delivery Driver.

                                                  During the ﬁve years and seven months 0f his employment,                              plaintiff   performed his job duties in an

                                                  exemplary manner, twice being given a $50.00 bonus for excellent customer service and once being

                                                  acknowledged              as   Employee 0f the Month.

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                                                             10.       During the course of plaintiff’s employment, he regularly reported safety hazards and

                                                  documented them with photographs, brought them                              to the attention   of defendants’ managers and

                                                  supervisors, and requested reasonable measures to address them, cure them, 0r                                make them         less


                                                  hazardous. These included, without limitation, assignments the completion of which would take ten

                                                  (1 0)   hours 0r more, deliveries to locations without docks, lack 0f pandemic protective equipment and

                                                  other safety equipment, faulty packaging for merchandise being delivered, crowded parking                                       lots,


                                                  trailers   with no steps or handle grasps, failure to coordinate time appointments for deliveries, tractors

                                                  equipped with wrong kind of safety bars for gaining access                            to the rear   0f the cabs, and    full   and

                                                  double-stacked             trailers.


                                                             1   1.    On    0r about September 24, 201           8,   Defendants’ managers         Tommy Rodriguez told Plaintiff
                                                  and the other drivers t0 stop complaining                     t0 the   Defendants’ designated safety ofﬁcer about safety

                                                  issues. After            Mr. Rodriguez was demoted             later   on   that year, safety issues persisted.


                                                             12.       In 0r about 201 9, Defendants ﬁnally provided                  box trucks    for the drivers to use, in order


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                                                  t0 allow their legal deliveries into                   and through residential areas, but       this did not cure the safety

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                                                  problems with truck overloading, which continued and resulted                             in several injuries to drivers.


                                                             13.       During the course of plaintiff’s employment, 0n or about April 22, 2020,                          Plaintiff   saw an

                                                  Andersen storage               trailer   move   forward and pulled the co~worker, Alfonso Moreno,                 who was        then

                                                  injured on the job (hereinafter, “Mr. Moreno’s accident). Plaintiff was informed and believed that

                                                  the reason the trailer            moved forward and away from                 his co—worker    was   that its brakes   needed

                                                  maintenance and had not been adequately serviced, causing the                             trailer to   malfunction.

                                                             14.       In or about       mid-May 2020, an        ofﬁcial from the California Workers’ Compensation

                                                  Division of Employment Development Department called Plaintiff to get details from him regarding

                                                  Mr. Moreno’s injury and                  how    it   happened. Plaintiff accurately told the ofﬁcial         how the     accident

                                                  happened, and that              this particular trailer      had moved many times before, and             that his co-workers         and



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                                                                                                                                    COMPLAINT
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                                                                   he had complained          to Defendant’s           managers about          its   faulty brakes previously.

                                                                             15.    Thereafter, in or about late            May 2020,       Defendants’ General Warehouse Manager Steve

                                                                   Pete and their     Human        Resources manager Ms. Jahara called Plaintiff t0 discuss Mr. Moreno’s

                                                                   accident.    When      Plaintiff reafﬁrmed his account                 of what he saw, including the                 trailer’s   movement.

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                                                                   They disagreed         as to   whether the         trailer   had been hooked up           to a tractor at the        time of Mr. Moreno’s

                                                                   injury. Plaintiff asserted that the trailer              had not been hooked              to   an   tractor,   and   that their Videotapes


                                                                   must have       related to a different time.            He    reiterated that the        problem had been with faulty brakes 0n

                                                                   the trailer which allowed          it   to   move.

                                                                             16.    Mr. Pete and Ms. Jahara claimed that the                     trailer    couldn’t move, because they had tried

                                                                   moving     a trailer like that in Arizona and                it   wouldn’t move. Plaintiff knew that other employees had

                                                                   seen the   trailer    move 0n     other occasions. Mr. Pete and Ms. Jahara asked                             him     t0   change his account

                                                                   of how Mr. Moreno’s accident happened, but                          Plaintiff refused t0        d0    so,   on the grounds       that his


                                                                   statement    was      accurate.


                                                                             17.    On    or about June 4, 2020, Defendants terminated Plaintiff‘s                             employment with           their


                                                                   companies, in a telephone           call     from Defendants’ Senior Manager of Corporate Transportation, Mike

                                                                   Thompson, General Warehouse Manager Steve                             Pete,       and   Human       Resources manager Ms. Jahara.

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                                                                   They erroneously accused him of violating                         the company’s         Code of Conduct by            refusing to change his

                                                                   account of how Mr. Moreno’s accident happened. They accused him of telling a falsehood as                                                t0 the


                                                                   reason and basis for the accident.

                                     mﬂQ‘J’l-hUJN—‘OCOOQONM-hww"
                                                                             18.    On   or about June 4, 2020, Defendants’                    Human        Resources Manager, Cassie Hanson, sent

                                                                   Plaintiff a letter     conﬁrming the termination and the pretenses under which                                 it   was   effected.   A true and
                                                                   correct   copy thereof is attached hereto, marked Exhibit “A,” and made a part hereof by                                         this


                                                                   reference.


                                                                             19.    The   true reason for the termination                was   that    Defendants could not get Plaintiff to give

                                                                   false testimony about the things                  he witnessed regarding Mr. Moreno’s accident.

                                                                             20.    On March       26, 2021      ,
                                                                                                                     plaintiff ﬁled with the          Department of Fair Employment and Housing

                                                                   (DFEH)     a complaint charging defendants with discrimination in violation 0f the                                        FEHA. On March

                                                                   26, 2021,    DFEH       issued t0 plaintiff a right—to—sue              letter.




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                                                                                                                                                       COMPLAINT
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                                                               FIRST      CAUSE OF ACTION
                     VIOLATION OF LABOR                  C. §§ 1102.5, 6310,       6400     ET SEQ      AND 232.5, GOV.              C.§ 12940(h);

                                      WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY
                                                              Plaintiff Against A11 Defendants


                           21. Plaintiff incorporates each allegation set forth in paragraphs                        1   through 20.
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                           22.   In acting as herein alleged,          Defendants breached Labor C. §§ 6310 and 6400                      et    seq

                   (right to   work   in a safe    and healthful workplace) and violated the public policy behind them,                         to


                   prevent retaliation against those        who   in   good   faith report   working conditions they believe               t0   be

                   unsafe, t0 aid the reporting of actual safety violations and t0 permit reasonably based suspicions of

  10               illegal activity.


  11                       23. In acting as herein alleged, Defendants also breached                    Labor C. § 1102.5, particularly

  12               subdiv. (b), and violated the public policy behind              it,   to safeguard   and protect employees from

  13               retaliation for disclosing       an employer’s violation 0f state 0r federal statutes 0r                  local, state 0r federal


  14               regulations to     one or more of the following:        a) a   governmental agency, or 2) an employee with

  15               authority over the complaining employee, 0r 3) an                employee with authority               t0 investigate 0r correct


  16               the alleged violation.

  17                       24.   In acting as herein alleged, Defendants also breached                   and violated the public policy

  18               behind Labor C.      §   1   102.5 t0 safeguard and protect employees from retaliation for an employer’s

  19               belief that the    employee disclosed or may disclose the employer’s violation 0f state or                          federal

  20               statutes 0r local, state 0r federal regulations t0          one 0r more 0f the following:               a) a   governmental

  21               agency, or 2) an employee with authority over the complaining employee, or 3) an employee with

  22               authority to investigate or correct the alleged Violation.

  23                       25. In acting as herein alleged, Defendants also breached and violated the public policy


  24               behind Labor C.      §   1   102.5 to safeguard and protect employees from retaliation for providing

  25               information   to,   or testifying before, any public        body conducting an         investigation, hearing 0r inquiry.

  26                       26. In acting as herein alleged, Defendants also breached                    and violated the public policy

  27               behind Lab. C.      § 232.5,    which prohibits disciplining 0r discharging an employee                        for disclosing


  28               information about the employer’s working conditions, which policy                       is   t0   promote unfettered



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                                                                                             COMPLAINT
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                monitoring and enforcement of safe conditions without fear of retaliation, so that working conditions

                will     comply with              State Health and Safety Code,         OSHA regulations,          and other       state, federal     and local

                ordinances and regulations, in circumstances in which the authorities cannot regularly monitor and

                depend upon independent,                     reliable,    competent sources.

                                  27.      The above-described conduct of Defendants                 constitutes wrongful termination of Plaintiff
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                in violation               of FEHA (Gov. C.         §   12940(h)) and the public policy embodied in                it   and Labor C. §§

                63   1   0,   1   102.5 (including 0n account of their belief that Plaintiff disclosed such information t0 a

                governmental agency), 6400                     et   seq and 232.5, and the public policy embodied in                    it.



                                  28.      As   a result of Defendants’ wrongful termination             of him,    Plaintiff has suffered           and

  10            continues to suffer damages, in the form of lost wages and other employment beneﬁts, and severe

  11            emotional and physical distress, the exact amount of which will be proven                                    at trial.


  12                              29. Defendants and each of them acted for the purpose of causing Plaintiff t0 suffer ﬁnancial


  13            loss     and severe emotional               distress     and physical   distress     and are guilty of oppression and malice,

  14            justifying an               award of exemplary and punitive damages.

  15                                                                    SECOND CAUSE OF ACTION
  16                                                                             RETALIATION
  17                                                                     Plaintiff Against A11      Defendants

  18                              30. Plaintiff incorporates each allegation set forth in paragraphs                    1   through 29.

  19                              3   1.   Plaintiff   opposed Defendants’ wrongful            acts in seeking to get       him    t0 testify differently


  20            than the true account he had given the Workers’ Compensation Department’s ofﬁcial about Mr.

  21            Moreno’s accident, and                    to lie about    what he has seen and concluded from               his observations there,        by

  22            directly rejecting the Defendants’ managers’ reproaches                              and solicitations for him          t0 revise his


  23            statement to assert facts that were untrue about                        how    it   happened and why        it   happened, directly t0

  24            Defendants’ General Warehouse Manager Steve Pete and their                                  Human     Resources manager Ms.

  25            Jahara.


  26                              32. In violation       of Labor C. §§ 6310(b), 1102.5, 6400              et   seq and 232.5, Defendants

  27            discriminated against and discharged Plaintiff for complaining about their unsafe                                        work conditions

  28            and practices and 0n account 0f their belief that Plaintiff disclosed such information                                        t0 a




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                                                                                                      COMPLAINT
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       governmental agency. Defendants’ termination 0f Plaintiff‘s employment was                                 in retaliation   of his

       rejection 0f the Defendants’ solicitations for             him   to revise his statement t0 assert facts that              were

       untrue.

                 33.   In retaliation for Plaintiff’s insistence        on the accuracy 0f his statement and                his


       unwillingness to change his statement to say something different about Mr. Moreno’s accident than

       what he actually saw, on or about June             4,   2020, Defendants terminated Plaintiff‘s employment in

       violation of public policy against giving false testimony under penalty of perjury.

                 34.   The conduct of defendants         violated the California Fair            Employment and Housing Act

       (FEHA),     in that plaintiff refused t0 give testimony or otherwise assist defendants in proceedings


  10   regarding another employee’s disability claim, as prohibited in Gov. C.                        §       12940(h) and 2    CCR      §


  11   11021(a), even as to the employers’ suspicion of Plaintiff‘s reporting, including reasonably based

  12   suspicions 0f illegal activity.

  13             35.   The conduct of defendants         also violated        FEHA   on account of its motive             to retaliate


  14   against   him   for acting as a whistleblower           0n safety hazards on the job,         that      would have    affected

  15   defendants’ liability rating for workers’ compensation insurance, and that would have                                become

  16   evidence supporting claims for violations of the Occupational Safety and Health Act (OSHA).

  17             36.   As   a result   of defendants’ discriminatory actions against him, plaintiff has suffered and

  18   continues to suffer damages, in the foml of 10st wages and other employment beneﬁts, and severe

  19   emotional and physical distress, the exact amount of which will be proven                              at trial.


  20             37. Defendants        and each of them acted for the purpose 0f causing                      plaintiff to suffer ﬁnancial


  21   loss   and severe emotional        distress   and are guilty of oppression and malice, justifying an award of

  22   exemplary and punitive damages.

  23                                                  THIRD CAUSE OF ACTION
  24          DISCRIMINATION BASED ON MEDICAL CONDITION OR PHYSICAL DISABILITY
  25                                                 Plaintiff Against A11     Defendants

  26             38.   Plaintiff incorporates each allegation set forth in paragraphs                     1   through 37.

  27             39.   At   all   times relevant herein, Government           Code   §   12940(m) was           in full force   and   effect,


  28   and was binding upon Defendants. Said section provides that                       it is   unlawful for an employer t0             fail t0




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                                                              make reasonable accommodations                  for the   known      disability     0f an employee.

                                                                      40.   At   all   relevant times herein mentioned, Defendants were Plaintiff‘s employer and

                                                              Plaintiff was Defendants’          employee       as   deﬁned under California Government Code                  § 12940(a).


                                                                      41. In 0r about January 201 5, Plaintiff had a medical condition related to an injury to his foot


                                 \OOOQQLII-bbJNH
                                                              that occurred within the course              and scope of his employment.              He   ﬁled a disability claim with the

                                                              Department of Industrial Relations within                    the    meaning 0f Gov. C.         §   12940(a) related to disability

                                                              and was on workers’ compensation for a period over a year.

                                                                      42.   As   Plaintiff was being treated, in 0r about April 201 6, Plaintiff was prepared                      and capable

                                                              0f working for Defendants on limited duties                 that    would have been regular          for his condition,    on the

                                                              grounds that he was not           100%       recovered   yet. In   doing     so,   Defendants failed and refused     to


                                                              accommodate        his partial disability       by employing him             in those limited duties.


                                                                      43. Plaintiff made the Defendants aware of the condition and the consequent partial physical


                                                              disability related both to        it   and   t0 his treatment for     it.



                                                                      43.   At   all   times mentioned herein, Plaintiff was willing and able t0 perform the essential job

                                                              duties 0f his position or other suitable positions if reasonable                      accommodation had been made by

                                                              Defendants. At no time would the performance of the functions of the employment position, with a

                                                              reasonable accommodation for Plaintiff’s disability, have been a danger                                to Plaintiff’s or   any other

                                                              person’s health 0r safety, nor would              it   have created an undue hardship to the operation of
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                                                              Defendants’ business.

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                                                                      44. Plaintiff requested reasonable                accommodations            for the medical condition     and physical

                                                              disability but   Defendants claimed there was no                   light    duty available, although later they had provided

                                                              an accommodation for light duty assignment for another driver                           who was     given a helper to unload his

                                                              shipments for a period of time.

                                                                      45.   Under FEHA, Gov. C.                § 12926(i)(1),      Defendants had the duty          to   provide reasonable

                                                              accommodations           to   employees with health impairments related                 to or associated with his recuperation


                                                              from an on-the-job injury          that resulted in his partial disability, for             which the person has been

                                                              rehabilitated or cured based            0n competent medical evidence.

                                                              ///




                                                                                                                                              C OMPLAINT
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                                                                    46. In violation            and breach of their duty under FEHA, particularly Gov. C.                     §   12940(m)(2),

                                                         Defendants failed            to reasonably     accommodate       his disability, and instead of interacting about


                                                         accommodations, Defendants                   retaliated against Plaintiff because         of his   disabilities and/or his


                                                         requests for         accommodation          for his disabilities. In particular, Defendants failed              and refused          t0

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                                                         provide reasonable accommodations t0 Plaintiff on account of and in consideration of his medical

                                                         condition 0r physical disability.

                                                                   47. Instead, and in breach of their duty t0 provide reasonable                        accommodations            for Plaintiff,


                                                         Defendants did the following:

                                                                    a)   Regularly overloaded his           trailers   and his routes, so   that   he had    t0   make     exhausting runs for

                                                                    eleven        (1 1)   or   more hours per day   (as   documented    in the attached e-mail            exchange of June

                                                                    15,      201 7, marked Exhibit B, and made a part hereof by              this reference),


                                                                   b) Declined to provide occasional relief from heavy transporting, and

                                                                    c)   Failed to give          him occasional   assistance in loading or unloading items or merchandise onto

                                                                   0r from delivery vehicles.

                                                                   48. In addition, in further breach 0f their duties under                 FEHA, Gov.            C. § 12926(i)(]        ),



                                                         Defendants routinely denied Plaintiff the regular                  rest   breaks and complete meal breaks required

                                                         under the Labor Code (as further alleged herein below).

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                                                                   49.       As   a result of defendants’ discriminatory actions against him, Plaintiff has suffered and

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                                                         continues to suffer damages, in the form of lost wages and other employment beneﬁts, and severe

                                                         emotional and physical distress, the exact amount of which will be proven                                at trial.


                                                                    50.      As   a further result of the wrongful conduct of Defendants, and each of them, Plaintiff has

                                                         suffered work-related stress, anxiety, emotional distress, humiliation, mental pain and anguish,

                                                         physical injuries, and physical sickness,                all to Plaintiff‘s   damage      in   an amount t0 be determined                 at


                                                         trial   according to proof.

                                                                    5   1.   Defendants and each of them acted for the purpose of causing plaintiff t0 suffer ﬁnancial

                                                         loss    and severe emotional distress and are guilty of oppression and malice, justifying an award of

                                                         exemplary and punitive damages.

                                                                   52. Plaintiff is entitled to his attorney’s fees                and expenses pursuant           to   Gov. C.    §   12965(b).



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                                                                                                                                       COMPLAINT
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                                                       FOURTH CAUSE OF ACTION
                                                RACIAL AND COLOR DISCRIMINATION
                                                       Plaintiff Against A11       Defendants

                    53. Plaintiff incorporates each allegation set forth in paragraphs                   1    through 52.
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                    54.   At   all   times material hereto, Plaintiff is and was a United States citizen 0f Hispanic race

            and dark complexion, as was known by the Defendants.

                    55.   As   a   member of a minority       group, Plaintiff was protected under 42 U.S.C. § 1981 and

            FEHA, Gov.       C. § 1294OU)(1), both individually and in association with others ofhis race and color.

                    56.   In violation     and breach of their duty under         FEHA,     despite their actual 0r constructive

  10        knowledge of Plaintiff‘s race and         color, Defendants discriminated against Plaintiff 0n account                     of his

  11        race or color.

  12                57. Defendants’ managers, at all times material hereto, regularly discriminated against him,


  13        as they did with all Fontana-based drivers,              who were    primarily Hispanic, as compared t0 the

  14        assignments given t0 Sacramento-based drivers,                who were predominantly white and                   Black. This

  15        includes giving        him assignments    that   were more menial, problematic, assured                  t0 cause difﬁculty


  16        nearly insurmountable, and repulsive than the assignments given to nonHispanic, white 0r Caucasian

  17        drivers, as, for   example, with respect t0 the following:

  18                      a)   Requiring him to go into residential areas with 53-foot                trailers      (unsafe and   illegal, for


  19                which he was issued          a ticket   by the   police, that Defendants refused to             pay 0n   his behalf),


  20                when Sacramento-based            drivers   were not required     to    do   so;


  21                      b) Failure to adjust the assignment of route-delivery workload, so that Southern

  22                California deliveries could be           managed reasonably       in   comparison        to the lighter trafﬁc


  23                conditions in Sacramento;

  24                      c)   Requiring him to      make    deliveries with insufﬁcient strapping to secure                 heavy

  25                merchandise        (for   which Defendants’ managers refused            t0   accommodate him             either with


  26                giving the correct strapping for each 500 pounds of an item’s weight or with providing a

  27                number he could use          t0 contact corporate headquarters regarding safety issues), as if Plaintiff


  28                and the other Fontana—based drivers were superhuman who could                            lift   and manage various



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                                                                                    COMPLAINT
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                       heavy items without         threat   0f injury;

   N                         d) Intentionally loading the trailers for       Fontana so that he and the other drivers would

                       have   to   move merchandise         to get to the articles scheduled t0      be delivered      ﬁrst, as the


                       Sacramento workers would arrange the merchandise for shipping                        to   Fontana only considering


   QONLh-b
                       cost-effectiveness, not considering the strain 0f arranging the deliveries                   on the Fontana

                       drivers,    who, including     Plaintiff   were nevertheless expected        to   ﬁnish their deliveries within a

                       reasonable time;

                             e) Intentionally   allowing those workers packing the              trailers   from Sacramento       in a


                       hazardous manner that made for safety hazards from                 article 0r     merchandise slippage and

  10                   falling,    although Plaintiff and others complained t0         Tommy Rodriguez             and other supervisors

  11                   in   Sacramento;

  12                         f)   Failing and refusing t0 get equipment for         him   to   move   articles    and merchandise        safely,


                       and not managing the delivery schedule such               that the trucks    had room      t0 carry the   moving

  14                   equipment, as a lack of consideration;

  15                         g) Providing better safety precautions for the workers in Sacramento, that enabled the

  16                   securing of trailers by hitching to a stationary post, rather than the arrangement in Fontana for

  17                   workers     to take their    chances with moving     trailers that didn’t      have the     facility to hitch


  18                   securely to a stationary post; and

  19                         h) Imposing     on him    to shorten his rest or     meal breaks, including training by four               (4)


  20                   different trainers (starting with a trainer       named Kirk       in   Sacramento),      who   told Plaintiff that


  21                   drivers for Defendants        would not take breaks other than meals “sometime within                   the eight (8)

  22                   hours” 0f his    shift, as   would have been expected of slaves on the               plantation.


  23                   58. In further discrimination against Plaintiff on account of association with the


  24         predominantly Mexican—American drivers                 in Fontana,   Defendants terminated his employment when

  25         he complained of the intolerable conditions that affected the other drivers of his same race 0r                            color,


  26         in part   because of his    own   race and color and in part because of his association with other minority

  27         workers of nonCaucasian race and nonwhite color, including, without limitation, Alfonso Moreno

  28         and   Omar Doe, whose employment was                 terminated in apparent retaliation for having            made    a claim



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                                                             on worker’s compensation insurance.

                                                                        59.   As   a result 0f defendants’ discriminatory actions against him, Plaintiffhas suffered and

                                                             continues to suffer damages, in the form of lost wages and other employment beneﬁts, and severe

                                                             emotional and physical distress, the exact amount of which will be proven                          at trial.


                                                                        60.   As   a further result of the wrongful conduct of Defendants, and each of them, Plaintiff has
                                       OkDOOﬂONUI-hUJNH




                                                             suffered work—related stress, anxiety, emotional distress, humiliation, mental pain and anguish,

                                                             physical injuries, and physical sickness,             all   to Plaintiff’s   damage   in   an amount to be determined         at


                                                             trial   according to proof.

                                                                        61. Defendants           and each 0f them acted for the purpose of causing plaintiff t0 suffer ﬁnancial

                                                             loss    and severe emotional distress and are guilty of oppression and malice, justifying an award of

                                                             exemplary and punitive damages.

                                                                        62. Plaintiff      is   entitled t0 his attorney’s fees      and expenses pursuant       to   Gov. C.       12965(b).
                                                                                                                                                                                §




                                                                                                              FIFTH      CAUSE OF ACTION
                                                                      WRONGFUL TERMINATION (HARASSMENT; HOSTILE WORK ENVIRONMENT)
                                                                                                             Plaintiff Against All     Defendants

                                                                        63. Plaintiff‘incorporates each allegation set forth in paragraphs                  1   through 62.
  NNNNNNNNNHHr—d—lu—ap—dn—AHH—n




                                                                        64.   During the course 0f plaintiff’s employment,                Plaintiff suffered grief, anxiety, stress       and

                                                             depression caused by the severe, intolerable and pervasive conditions and the hostile environment                                  at

                                  OOﬂam-PLHNHOOOOQQU‘IAWNH




                                                             Defendants’ employment, caused by the regular pressure for him t0 Violate public policy by doing

                                                             such    illegal things as      taking 53-foot trailers through residential neighborhoods, by the discrimination

                                                             against    him   for his medical condition         and physical     disability,   and because of the       racial discrimination


                                                             that    he was caused        to suffer at the   Defendants’ employment.

                                                                       65.    At   all   times material hereto, in violation 0f Gov. C. § 12940(k), Defendants failed t0 take

                                                             reasonable steps to prevent the harassment, discrimination and retaliation herein alleged. In

                                                             particular,


                                                                              a) Plaintiff      was an employee 0f Defendants;

                                                                              b)   He was       subjected t0 harassment, discrimination, and retaliation in the course 0f and at



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                                               H                      the termination of his employment;


                                                                            c)   Defendants failed t0 take          all   reasonable steps to prevent the harassment,

                                                                      discrimination, and retaliation;


                                                                            d) Plaintiff   was banned       thereby; and

                                                                            e)   Defendants’ failure to take          all   reasonable steps to prevent the harassment,
                                      owmﬂmmbwk}




                                                                      discrimination, and retaliation          was a        substantial factor in causing Plaintiff s harm.

                                                                      66.   As   a result of defendants’ failure t0 take               all   reasonable steps t0 prevent the harassment,

                                                           discrimination, and retaliation, Plaintiff has suffered and continues t0 suffer damages, in the form of

                                                           lost    wages and other employment beneﬁts, and severe emotional and physical                                distress, the exact


                                                           amount of which         will   be proven     at trial.


                                                                      67.   As   a funher result of the wrongful conduct 0f Defendants,                       and each 0f them, Plaintiff has

                                                           suffered work-related stress, anxiety, emotional distress, humiliation, mental pain and anguish,

                                                           physical injuries, and physical sickness,                all   t0 Plaintiff‘s     damage   in an   amount    t0   be determined    at


                                                           trial   according to proof.

                                                                      68. Defendants       and each of them acted for the purpose of causing plaintiff to suffer ﬁnancial

                                                           loss    and severe emotional distress and are guilty of oppression and malice, justifying an award of

                                                           exemplary and punitive damages.
  NNNNNNNNNHb—‘Hh—‘Hb—Io—n—r—‘H




                                                                     69. Plaintiff is entitled to his attomey’s fees and expenses pursuant t0                          Gov. C.    § 12965(b).

                                  WQQMLWNP‘OOOOQQm-hWN—d




                                                                                                           SIXTH CAUSE OF ACTION

                                                                                       LABOR CODE VIOLATIONS (DENIAL OF PREMIUMS
                                                                                              FOR REST BREAKS AND MEAL BREAKS)
                                                                                                          Plaintiff Against A11          Defendants

                                                                     70. Plaintiff incorporates each allegation set forth in paragraphs                        1    through 69.

                                                                     71.    During the course 0f Plaintiff’s employment,                     Plaintiff   was required by the Defendants’

                                                           managers and authorized           trainers    (Ramiro Nagallanez and Kirk)                 t0   work through and within     his

                                                           lunch hour despite having been required t0 clock out for that time.                             He was   never allowed a   rest   break

                                                           (as trainer     Nagallanez and corporate ofﬁcers 0n his hiring told them that Defendants’ drivers do not



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            take breaks).

                       72.    In violation of Defendants’ responsibility to ensure that employees like Plaintiff get a

            work-free meal period            when they work more                  than ﬁve hours a day and a second meal period of at

            least   30 minutes        if they   work more than 10 hours               in a   day (Lab. C.         § 512(3)),      Defendants demanded
   QQMAMN




            and required Plaintiff and similarly situated current and past employees 0f the above-referenced

            companies         (hereinafter, “the        Aggrieved Parties”) to work without meal breaks                            at all   times material t0

            this action until        some time     in   201   7.   At the insistence 0f his       trainers,        even then and aﬁer           that,


            Plaintiff was regularly not allowed to take his lunch until after the                             6m hour and frequently             until the

                             7‘“
            end of the             hour.

  10                   73.    The    right to a   meal period        is   a nonwaivable statutory right in California.                      Under Lab. C.      §

  11        226.7(0) and 8          CCR    §§ 11010—1 150, and 11160, Defendant                   is   required to pay Plaintiff one additional

  12        hour 0f pay       at his regular rate for         each work day          when    the meal period         was not provided, which

  13        Defendants have not paid              to Plaintiff.


  14                   74. In addition, federal          law (29      CFR     §   785.18) requires that employers like Defendants given

  15        rest breaks,      and Célifomia law (Lab. C.                  § 226.7(d)   and 8   CCR     §§     1   1010-1 1150) require that

  16        employers like Defendants allow their workers like Plaintiff a ten minute                                      rest   break every 4 hours

  17        worked. Defendants never allowed Plaintiff to take a                           rest break.   The       failure to allow for rest breaks

  18        subjects employers like Defendants under Lab. C. § 226.7( c                            )   t0 a   payment of a penalty             in the   form

  19        0f a premium of one additional hour of pay                       at the   employee’s regular rate for each day that a                   rest


  20        period was not provided. Defendants have not paid this                            premium       to Plaintiff.


  21                 75. Plaintiff has          been damaged          as a result     of Defendants’        failure to      pay    for   missed meal

  22        period, meal period required to be taken later than the federal law permits, and the failure t0 pay

  23        Plaintiff premiums for          missed       rest breaks, all in        an amount not presently            ascex’tained. Plaintiff will


  24        seek leave of the Court to            amend       this   complaint t0 state the amount thereof when ascertained or upon

  25        proof at   trial.


  26                 76.      Under California Labor Code §§ 226.7 and 512(3)                          Plaintiff      and the Aggrieved Parties are

  27        entitled to      Unpaid Meal Period Premiums; under California Labor Code                                  §   226.7 Plaintiff and the

  28        Aggrieved Parties are entitled              t0   Unpaid Rest Period Premiums


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                                                     SEVENTH CAUSE OF ACTION
              LABOR CODE VIOLATIONS                        (Failure to   Pay Wages on Time,         to       Pay Wages Timely 0n

           Termination, to Provide Accurate             Wage     Statements, t0 Pay Overtime Wages, t0 Provide Timely

                                  Wage   Statements and T0 Maintain Accurate Payroll Records)

                                                     Plaintiff Against All Defendants


                77. Plaintiff incorporates each allegation set forth in paragraphs                       1   through 76.

                78. Defendants also violated Plaintiff‘s rights               under California Labor Code §§ 204 and 558

      by   failing to   pay his wages on time, under California Labor Code §§ 201, 202 and 203 by not paying

      wages timely on termination, under California Labor Code                         § 226(a)   and 226.3 by not providing

      accurate   wage     statements, under California Labor             Code §§ 510 by         failing to     pay overtime, under

      California Labor       Code §§ 226,       226.3, and 1198 by not providing accurate                    wage   that included,   among

      other things, the hours        worked by       Plaintiff   and Aggﬁeved Employees, net and gross pay, under

      California Labor       Code §§ 226(a) and 226.3 by            not providing timely          wage       statements, and under

      California Labor       Code §§ 1174 and          1   198 and Industrial      Wage   Orders for failing to maintain accurate

      payroll records,      a1]   related to the following alleged occurrences, practices 0r policies 0f Defendants:


                        A.) Requiring Plaintiff and the Aggrieved to use a PeopleNet system to 10g in 0n his                          own
               time to the expense 0f 7 to 10 minutes a day,                 still   spending about 2 minutes a day of his time

               each day     t0 log in    when   shifting t0 a     OmniTrack system, without              getting paid for    any of this

               time; and

                     B.) Requiring Plaintiff and the other Aggrieved Parties to take safety on-line training

               sessions and take examinations on the content on their                     own   time, 0n facilities of their     own
               arrangement, without paying them for the time spent doing so 0r compensating them for use

               of non—company          facilities.


               79.   The speciﬁc provisions of the             California Labor        Code   allegedly violated by Defendant

      include, but are not limited to, the following: 98.6, 201                ,   202, 203, 204, 210, 218.6, 226, 226.3, 226.7,

      256, 510, 512, 551, 552, 558, 1102.5, 1174, 1174.5, 1194, 1194.2, 1197, 1197.1, 1198, and 2698,                                  et


      seq.   and applicable       IWC Wage      Orders.

               80. Defendants’ conduct herein alleged caused Plaintiff                     and the Aggrieved Parties damages



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        in lost earnings,     wages and beneﬁts,              all in    an amount not presently ascertained. Plaintiff will seek

        leave of the     Coun   to    amend       this   complaint to state the amount thereof when ascertained or upon

        proof at   trial.
   Am

                  81.    Defendants’ conduct herein alleged subjects them t0 penalties under the Labor Code,

        including, without limitation, waiting time penalties for violating California Labor                                Code §§ 201 202
                                                                                                                                          ,




        and 203 by       failing to   pay   all   wages    t0 Plaintiff     and   to   Aggrieved Employees        at the   end of their
   “a

        employment, and penalties under California Labor Code §§ 226, 226.3, and 1198                                  t0    provide timely,

        accurate   wage statements during                their   employment.

                  82.   Defendants have violated Business                   & Professions Code §§      1   7200   et seq.   have been

  10    violated   by their conduct herein above                 alleged.


  11              83.    Plaintiff intends to          amend     this   complaint to allege a cause 0f action as Private Attorney

  12    General    (PAGA, Labor Code               §   2699   et seq) to    recover wages and penalties as provided by California

  13    law for the damages, penalties and attorney’s fees incurred                        in the causes of action alleged above.


  14    WHEREFORE, plaintiff prays:
  15              1.    For compensatory damages according to proof and prejudgment interest thereon                                t0 the


  16    extent allowable      by law;

  17             2.     For penalties as provided by law;

  18             3.     For exemplary and punitive damages according                       to proof;


  19             4.     For attorney fees on the second, third and fourth causes 0f action;

  20             5.     For costs of suit; and

  21             6.     For such other and further            relief as the court       may deem   proper.

  22
        Dated:
                   37M         2’     Zou                                 LAW OFFICES 0F GARY R.                  CARLIN, RC.
  23

  24

  25
                                                                          Byiﬁm
                                                                             Gary R. Carlin
                                                                             Lawrence M. Boesch
  26                                                                      Attorneys for Plaintiff JUAN        CARLOS RUIZ
  27

  28



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                                                                                         COMPLAINT
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                                         \OOO\}O\Lh—hUJN-—




  NNNNNNNNNh—th—d—tHH—tn—Ip—au—Ab—A




                                                                EXHIBIT “A”
                                      OOQQM-hWNHOCwQQUl-PWNHO




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                                                           W




                         EXHIBIT A
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                                                                      Andéi‘éé'fi
                                                                                                                              June   4,   2020



     Mr.   Juan Carlos Ruiz



     Dear Carlos:

    We     regret to inform you that your             employment      with       Andersen    Logistics   will   terminate effective June     4,
    2020 due    to violation of the        Code    of Conduct.


    This letter provides you with           some     basic information regarding the termination of your employment.

    Pay and PTO: You will be paid at your current base pay rate for all hours worked through the June 4,
    2020. You wiIl be paid for any paid time off which was earned but not used as of the June 4, 2020. The
    base compensation and the paid time off will be paid upon termination.

    Health Benefits and          COBRA:      If   you are current|y enrolled         in   medical/dental and/or vision coverage, your
    coverage    will   terminate at the end of the month        which your employment ends. You may be eligible to
                                                                     in

    continue health and/or         life   insurance under the Company's plans pursuant to state and federal benefits
    continuation laws. Information regarding                 COBRA will          be sent to you under separate cover within the next
    two weeks.         If   you have any questions regarding your                 COBRA benefits, please call the ABC at 855v374~
    8822.

    Progeny: You are obligated to return to the Company all property of the Company which is now or has
    ever been in your possession or control. We will send you via US Mail or UPS any personal property that
    you may have left at your workstation. You will not be allowed to come back on company property for any
    reason.


    Exgenses. If you receive biIIs for any outstanding business expenses after the June 4. 2020, please
    submit these business expense reports on a manual form with supporting documentation to your HR
    contact within
                 thirty days after June 4, 2020. Any appropriate expenses submitted by this deadline will be
    reimbursed according to the Company’s normal policies and practices. You will not be reimbursed for
    any expenses submitted after this date.

    Continuinq Obliqations to the Companv- Following the termination of your employment, you are stiH
    bound by the obligations regarding confidentiality, inventions, competitive activities and other provisions
    of Company policies and the Employment                       Agreement you signed           with the   Company     that apply after the
    termination of your employment.


    If   you have any questions about             this letter,   please   call   me at    651-264-2598.

    Best regards,




    Cassie Hanson
    Human Resources Manager




Andersen         W                                                                                                            genewal
                                                                                                                              mol- lmusnnv   m
                                                                                                                                             umuxw.
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                         EXHIBIT B
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M Gma“                                                                                                                                                          Juan Ruiz <rulzsp|ec922@gmail.com>



Bringing back product and suggestions to improve
2 messages

Juan Ruiz <ruizspiecezz@gmail.com>                                                                                                                                               Thu. Jun 15. 2017 at 11:12           AM
              Tommy" <Tommy.Rodriguez@andersenlogistics.com>
To: "Rodriguez,
Cc: "Cline, Brandy” <Brancly.Cllne@andersencorp.com>


      Dear Tommy.

      This       is in   response to your texts from June 14. 2017 questioning why brought back product this week and where you request suggestions on
                                                                                                                  I




      how    to ﬁx the       problem so it doesn‘t continue happening. We have had multiple conversations about thls topic, both one on one and in driver
      meetings. and although I've given my suggestions before, changes have not yet occurred. This Includes a conversation with Brian
                                                                                                                                      several
      months ago stating that things were going to change when you came back from vacation. Below are my suggestions on how to ﬁx the problems
      and issues which encounter on my routes daily, if not very regularly, and what encountered this week so far,
                                        I
                                                                                                                             l




      SUGGESTIONS:
            I'm over routed dally.                   shouldn't be routed for 11+ hours on any, glven
      1)                                            |
                                                                                                                      day. I‘m delivering in       one   of the most.   if   not the   most congested      city in
      the U.S.         and bumper              to   bumper trafﬁc ls not being considered.
      2)    When                       it {s based at 65 mph when trucks are
                         travel time is considered,                          only allowed to travel 55 mph mag.
      3)    Time allowed               for deliveries Is
                                    grossly underesllmated. especially at job site dellverlas. Not to mention when zero minutes are allowed for
  deliveries. regulariy encounter having to deliver a hundred or more items. without sufﬁcient help. and
                            I
                                                                                                            only given 45 minutes to do so. These
  deliveries often take 1 1/2+ hours.
  4) At times my route may have a 7:00 am scheduled delivery Io customers which don't open until 1+ hours later. This is not only wasted time but
      now have
             l to squeeze them in later on my route.
  5) Routes are being routed backwards. Efficient delivery routes should consist of the following:
   a) First delivery scheduled should be the furthest away from the yard. This will avoid some trafﬁc by passing through L.A. at the                                                            earliest
  possible hour. Scheduling lhe last delivery closes to the yard will avoid traveling long distances. often from the olher side of
                                                                                                                                   L.A.,                                                        In   bumper     to
  bumper              traffic.

       b)   Routes are being mixed.                          A
                                                            route should be limited to a certain geographic area only. on any given day. For example, areas in
                                                                                                                                                               Northern L.A.
  county, Burbank, Northridge.                               Pacoima
                                                                   or Oxnard should not be scheduled on the same day wlth Western or Southern L.A.
                                                                                                                                                       county. Marina Del
      Rey,   San Pedro             or       Orange      County deliveries. l've had several North HoIIywood to Marina Del Rey to the yard routes. That type of scheduling
  has        ma       traveling through          downtown            L.A. during rush hour. lhen crossing L.A. again to get to the yard. FYI                    downtown should be avoided
  whenever possible regardless                               of the hour.
  6)       Other examples of things                      l   encountered that can cause delays             are:
       a)   Sometlmes              deliveries are            added   to   my   route without reflecting them on         my   route sheet.     l   slmply ﬁnd them       in the   truck to be delivered on that
  day without an adjustment to the schedule.
   b) Deliveries not made on any previous day(s),                                       for   any given reason. are squeezed       into the       next possible delivery day.

  THIS  WEEKS ISSUES:
  1) Monday‘s ﬁrst delivery - Horizon. arrival time 7:00. departure time 7:00. Zero delivery time auowad.
  2) Tuesday's route - Beverly Hills Job Site. arrlval time 12:36, departure time 12:36. Again zero delivery time allowed.
  3) Wednesday's trailer arrived with ﬂat ﬁre. left (he yard at 6:40 instead of 5:00.
                                                                               l




  4) This ls the first week I've ever received a schedule showing less than 11 hours on my route sheet. As you can see from                                                                 and 2 above,
                                                                                                                                                                                        1                  it   was
  incorrect.


  Tommy,              I'm constantly trying to          communicate wlth you when encounter a problem. This week isn't any different. You’ve known of all the issues
                                                                                                     t


  I've      had so          far this        week. So the fact that you're asking me why I've brought back product and that il needs to stop. is frankly
                                                                                                                                                        quite unsettling to
  me.

  I    lry to call          you   to   speed things up when there                  is   an issue. but a great majority of the time you don't answer. So I'm forced to text you, but many
  tlmes don't get an answer until several hours
                 I                                                                 later.    understand that you may prefer to lexk. but can not text while I'm driving. so a simple
                                                                                              I
                                                                                                                                                     |


  telephone can will make things run smoother.

  In a perfect world with no trafﬁc, no hold ups. no truckltrailer problems. no customer delays, reasonable amount
                                                                                                                   of help and no scheduling
  errors.  maybe this type of routing will work. Then could understand and expect the questioning, but that's not reality. I'm constantly pushing
                                                                                         l



  maximum daily work hours to try to keep wim the schedule. Then after a full j§+ ngm day of work. feel compeiled to write you this detailed
                                                                                                                                                                                                                 my
                                                                                                                                                         I


  letter to explain myself and give you a few suggestions. It's trufy qulte exhaustlng.


  l    hope          that   my suggestions will ail be               taken     Into     conslderaﬂon and   my     reasons be understood.

  Thank you,
  J.       Carios Ruiz




Rodriguez, Tommy <Tommy.Rodriguez@andersenlogistics.com>
To: Juan Ruiz <rulzsplacez2@gmail.com>
                                                                                                                                                                               Thu. Jun 15‘ 2017 at 12:21            PM
Cc: “Thompson, Mike" <Mike.Thompson@andersencorp.com>, "Moe, Peter" <Peter.Moe@andersencorp.com>.
                                                                                                                                                                        "Scott. Brian"
<Brian.Scolt@andersencorp.com>, "Marko. Aaron" <Aaron.Marko@andersencorp.com>
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    Hi Carlos,




   Thank you very much                  for   your response and   all   the suggestions
                                                                     listed below. lam forwarding this
   Team                                                                                                   email to our Corporate Transportation
             so they can see you concerns and help
                                                                  me
                                                     responses, plan of action or with any explan
                                                                                                    ations regarding hours of work and
   regulations. We try to keep the route
                                          hours under 10.5 or as close to that as
                                                                                   possible, but this is not a rule or regulat
   route couid be accomplished and all deliver                                                                                 ion. We do this so the
                                               ies are fulﬁlled with no product returni
                                                                                         ng to the yard. Regarding hours of regulat
   14hrs for daily use before you have to use                                                                                         ion, you have
                                              your 2 hours exception once a week or 16 hours once
                                                                                                        a week. We don’t ever route to that
   extreme.




   As a manager.   rely on you to be able to resolve a lot of
                         l
                                                              the issues you encounter with trafﬁc and
   For routing and planning issues contin                                                               deliveries throughout your day yoursel
                                                                                                                                               f.
                                          ue to let me know about these so can
                                                                                   continue to communicate with Trans Ops. On
                                                                                                     I

   lam here to help and will respond to your calls or                                                                              the other hand,
                                    I
                                                        texts as quickly as can. lam not always  I
                                                                                                  sitting by the phone or able to answar
                                                                                                                                                                         my cell.


  Remember you are not to be on the phone while driving
                                                         . Call                         me   or text     me   while stopped at a delivery or parked
  don't want to put yourself or those                                                                                                                 in a   safe location. You
                                      around you in harm’s way.



  Be   Safe,




  Peter,    Aaron and Mike,




 Please see below the concerns and sugges
                                          tions Carlos                       listed   below; and help         me   respond.



 Thank you,




 Tommy Rodriguez
 Operations Manager/Fieet Manager




Tel.   916-383-2900          ext.   1011

Fax. 651-275-6819




email

tummy.rodrlguez@andersenlogistics.com

[Quoled   \ext hidden)
